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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JOHN DOE, an individual,

      Plaintiff,

vs.                                               Case No.: 18-cv-11776
                                                  Hon. Arthur J. Tarnow
                                                  Mag. Elizabeth A. Stafford
UNIVERSITY OF MICHIGAN (as to Title
IX violations), BOARD OF REGENTS OF
THE UNIVERSITY OF MICHIGAN, a                        PLAINTIFF’S NOTICE OF
constitutional corporate body (as to Title IX &
                                                         CROSS-APPEAL
ELCRA violations), PAMELA HEATLIE,
ROBERT SELLERS, MARTIN
PHILBERT, ERIK WESSEL, LAURA
BLAKE JONES, E. ROYSTER HARPER,
SUZANNE MCFADDEN, and PAUL
ROBINSON, employees of the University of
Michigan, sued in his or her personal and
official capacities, jointly and severally,

      Defendants.


DEBORAH GORDON LAW                          MILLER, CANFIELD, PADDOCK
Deborah L. Gordon (P27058)                  AND STONE, P.L.C.
Elizabeth A. Marzotto Taylor (P82061)       Brian M. Schwartz (P69018)
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                PLAINTIFF’S NOTICE OF CROSS-APPEAL

      Notice is hereby given that Plaintiff in the above-captioned case, John Doe,

appeals to the United States Court of Appeals for the Sixth Circuit a portion of the

Order (ECF No. 30) entered in this action on July 6, 2018, which granted in part

and denied in part Plaintiff’s motion for temporary restraining order and

preliminary injunction. Specifically, Plaintiff only appeals the portion of the

Court’s order allowing for circumscribed cross-examination, by submitting written

questions to the university decision-makers, during the “live” investigatory hearing

conducted pursuant to the University’s Statement of Student Rights and

Responsibilities, in lieu of allowing “direct” (live) cross-examination of the

claimant and other witnesses.

Dated: August 7, 2018                 Respectfully submitted,
                                      DEBORAH GORDON LAW
                                      /s/ Deborah L. Gordon (P27058)
                                      Elizabeth Marzotto Taylor (P82061)
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                         CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2018, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system, which will send
notification of such filing and service of said document to all parties through their
counsel of record.
                                        DEBORAH GORDON LAW
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